






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00523-CR







Sammy Larkin, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF CALDWELL COUNTY, 22ND JUDICIAL DISTRICT


NO. 00-174, HONORABLE JACK H. ROBISON, JUDGE PRESIDING






PER CURIAM

This is an appeal from a judgment of conviction for possession of cocaine.  Sentence
was imposed on November 7, 2000.  The deadline for perfecting appeal was December 7, 2000. 
Tex. R. App. P. 26.2(a)(1).  Notice of appeal was filed on September 6, 2001.  We lack jurisdiction
to dispose of the purported appeal in any manner other than by dismissing it for want of jurisdiction. 
See Slaton v. State, 981 S.W.2d 208 (Tex. Crim. App.1998); Olivo v. State, 918 S.W.2d 519, 522-23
(Tex. Crim. App. 1996).

The appeal is dismissed.


Before Justices Kidd, Yeakel and Patterson

Dismissed for Want of Jurisdiction

Filed:   October 18, 2001

Do Not Publish


